Filed 01/10/25                                                                   Case 25-10074                                                                          Doc 1

  Fill in this information to identify the case:

  United States Bankruptcy Court for the:
                            Eastern District of California

  Case number (if known):                                            Chapter     12                                                     ❑ Check if this is an
                                                                                                                                            amended filing

 Official Form 201
 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                       06/24
 If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case number (if known). For
 more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



     1. Debtor's name                              Capital Farms, Inc


     2. All other names debtor used
        in the last 8 years

      Include any assumed names,
      trade names, and doing business
      as names



     3. Debtor's federal Employer                  4       6 – 0    7   1    4   0    0   2
        Identification Number (EIN)



     4. Debtor's address                            Principal place of business                                 Mailing address, if different from principal place of
                                                                                                                business




                                                    15555 S Brawley Ave                                         5550 W Spruce Ave, Ste 107
                                                    Number          Street                                      Number        Street

                                                    Caruthers, CA 93609                                         Fresno, CA 93722
                                                    City                                  State   ZIP Code      City                              State      ZIP Code

                                                                                                                Location of principal assets, if different from principal
                                                    Fresno                                                      place of business
                                                    County




                                                                                                                Number        Street



                                                                                                                City                              State      ZIP Code




     5. Debtor's website (URL)



     6. Type of debtor                             ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                                   ❑
                                                   ❑ Partnership (excluding LLP)
                                                   ❑ Other. Specify:




 Official Form 201                                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 1
Filed 01/10/25                                                              Case 25-10074                                                                      Doc 1

 Debtor      Capital Farms, Inc                                                                               Case number (if known)
            Name
                                                 A. Check one:
     7. Describe debtor's business
                                                 ❑ Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                 ❑ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                 ❑ Railroad (as defined in 11 U.S.C. §101(44))
                                                 ❑ Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                 ❑ Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                 ❑ Clearing Bank (as defined in 11 U.S.C. §781(3))
                                                 ✔ None of the above
                                                 ❑
                                                 B. Check all that apply:
                                                 ❑ Tax-exempt entity (as described in 26 U.S.C. §501)
                                                 ❑ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. § 80a-3)
                                                 ❑ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                                 C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                    http://www.uscourts.gov/four-digit-national-association-naics-codes .


     8. Under which chapter of the               Check one:
        Bankruptcy Code is the                   ❑ Chapter 7
        debtor filing?
                                                 ❑ Chapter 9
                                                 ❑ Chapter 11. Check all that apply:
                                                    ❑ Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                            are less than $3,024,725 (amount subject to adjustment on 4/01/25 and every 3 years after that).
                                                       ❑ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                            business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                            statement, and federal income tax return or if all of these documents do not exist, follow the
                                                            procedure in 11 U.S.C. § 1116(1)(B).
                                                       ❑ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it chooses to
                                                            proceed under Subchapter V of Chapter 11.
                                                       ❑ A plan is being filed with this petition.
                                                       ❑ Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                            accordance with 11 U.S.C. § 1126(b).
                                                       ❑ The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                            Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                            Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                            (Official Form 201A) with this form.
                                                       ❑ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                                 ✔ Chapter 12
                                                 ❑
     9. Were prior bankruptcy cases filed        ✔ No
                                                 ❑
        by or against the debtor within the
        last 8 years?
                                                 ❑ Yes. District                                     When                    Case number
                                                                                                            MM / DD / YYYY
      If more than 2 cases, attach a                      District                                   When                     Case number
      separate list.
                                                                                                            MM / DD / YYYY

   10. Are any bankruptcy cases pending          ✔ No
                                                 ❑
       or being filed by a business partner
       or an affiliate of the debtor?            ❑ Yes. Debtor                                                               Relationship

      List all cases. If more than 1, attach a            District                                                            When
      separate list.                                                                                                                        MM / DD / YYYY
                                                          Case number, if known




 Official Form 201                                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 2
Filed 01/10/25                                                         Case 25-10074                                                                          Doc 1

 Debtor        Capital Farms, Inc                                                                         Case number (if known)
              Name


   11. Why is the case filed in this   Check all that apply:
       district?
                                       ✔ Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                       ❑
                                          immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                          district.

                                       ❑ A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.
   12. Does the debtor own or have     ✔ No
                                       ❑
       possession of any real
       property or personal property
                                       ❑ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
       that needs immediate                      Why does the property need immediate attention? (Check all that apply.)
       attention?                                ❑ It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                       What is the hazard?


                                                 ❑ It needs to be physically secured or protected from the weather.
                                                 ❑ It includes perishable goods or assets that could quickly deteriorate or lose value without attention
                                                       (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other
                                                       options).
                                                 ❑ Other
                                                 Where is the property?
                                                                           Number        Street




                                                                           City                                         State    ZIP Code
                                                 Is the property insured?
                                                 ❑ No
                                                 ❑ Yes.        Insurance agency
                                                               Contact name
                                                               Phone


           Statistical and administrative information

          13. Debtor’s estimation of   Check one:
              available funds?         ❑ Funds will be available for distribution to unsecured creditors.
                                       ✔ After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                       ❑
                                          creditors.

          14. Estimated number of
                                        ✔ 1-49 ❑ 50-99
                                        ❑                                  ❑ 1,000-5,000 ❑ 5,001-10,000             ❑ 25,001-50,000 ❑ 50,000-100,000
              creditors                 ❑ 100-199 ❑ 200-999                ❑ 10,001-25,000                          ❑ More than 100,000

          15. Estimated assets          ❑ $0-$50,000                          ✔ $1,000,001-$10 million
                                                                              ❑                                         ❑ $500,000,001-$1 billion
                                        ❑ $50,001-$100,000                    ❑ $10,000,001-$50 million                 ❑ $1,000,000,001-$10 billion
                                        ❑ $100,001-$500,000                   ❑ $50,000,001-$100 million                ❑ $10,000,000,001-$50 billion
                                        ❑ $500,001-$1 million                 ❑ $100,000,001-$500 million               ❑ More than $50 billion




 Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 3
Filed 01/10/25   Case 25-10074   Doc 1
Filed 01/10/25                                                                                            Case 25-10074                                                                                                     Doc 1


  Fill in this information to identify the case:

  Debtor name                                            Capital Farms, Inc

  United States Bankruptcy Court for the:
                                      Eastern District of California

  Case number (if known):                                                                 Chapter          12                                                                                      ❑ Check if this is an
                                                                                                                                                                                                       amended filing

 Official Form 206Sum
 Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                                     12/15

  Part 1: Summary of Assets



  1. Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

     1a. Real Property:
            Copy line 88 from Schedule A/B........................................................................................................................................                                         $0.00

     1b. Total personal property:
            Copy line 91A from Schedule A/B......................................................................................................................................                                  $4,747,775.68
     1c. Total of all property:
            Copy line 92 from Schedule A/B.........................................................................................................................................
                                                                                                                                                                                                                   $4,747,775.68




   Part 2: Summary of Liabilities




  2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D.................                                                                                                  $6,515,689.48


  3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
            Copy the total claims from Part 1 from line 5a of Schedule E/F....................................................................................                                                             $0.00

     3b. Total amount of claims of non-priority amount of unsecured claims:
            Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F......................................................                                                           +      $1,266,335.52




  4. Total liabilities..............................................................................................................................................................................               $7,782,025.00
     Lines 2 + 3a + 3b




 Official Form 206Sum                                                                           Summary of Assets and Liabilities for Non-Individuals                                                                       page 1
Filed 01/10/25                                                             Case 25-10074                                                                                     Doc 1
     Fill in this information to identify the case:

      Debtor Name       Capital Farms, Inc

      United States Bankruptcy Court for the:                Eastern             District of    California
                                                                                                   (State)
      Case number (If
      known):                                                                                                                                   ❑ Check if this is an
                                                                                                                                                    amended filing


     Official Form 206A/B

    Schedule A/B: Assets — Real and Personal Property                                                                                                                12/15

    Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include all
    property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have no book
    value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired leases. Also list
    them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

    Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write the
    debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an additional sheet is
    attached, include the amounts from the attachment in the total for the pertinent part.

     For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset schedule or
     depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the debtor’s interest, do not
     deduct the value of secured claims. See the instructions to understand the terms used in this form.

          Part 1:      Cash and cash equivalents

     1.      Does the debtor have any cash or cash equivalents?

             ❑ No. Go to Part 2.
             ✔ Yes. Fill in the information below.
             ❑
             All cash or cash equivalents owned or controlled by the debtor                                                                     Current value of
                                                                                                                                                debtor’s interest

     2.      Cash on hand

     3.      Checking, savings, money market, or financial brokerage accounts (Identify all)

             Name of institution (bank or brokerage firm)           Type of account                           Last 4 digits of account number

             3.1. Citizens Business Bank.                              Checking account                        3    5    0    6                                     $58.58

             3.2. Five Star Bank.                                      Checking account                        7    8    9    2                                $798.35

             3.3. Five Star Bank.                                      Checking account                        7    9    0    6                                $395.00

     4.      Other cash equivalents (Identify all)

             4.1

             4.2


     5.      Total of Part 1
                                                                                                                                                           $1,251.93
             Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.


          Part 2:      Deposits and prepayments

     6.      Does the debtor have any deposits or prepayments?

             ✔ No. Go to Part 3.
             ❑
             ❑ Yes. Fill in the information below.
                                                                                                                                                Current value of
                                                                                                                                                debtor’s interest

     7.      Deposits, including security deposits and utility deposits

             Description, including name of holder of deposit


    Official Form 206A/B                                    Schedule A/B: Assets — Real and Personal Property                                                       page 1
Filed 01/10/25                                                                Case 25-10074                                                                               Doc 1
    Debtor           Capital Farms, Inc                                                                       Case number (if known)
                     Name




             7.1

             7.2


     8.      Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent

             Description, including name of holder of prepayment

             8.1

             8.2


     9.      Total of Part 2
             Add lines 7 through 8. Copy the total to line 81.


          Part 3:       Accounts receivable

     10.     Does the debtor have any accounts receivable?

             ✔ No. Go to Part 4.
             ❑
             ❑ Yes. Fill in the information below.
                                                                                                                                             Current value of
                                                                                                                                             debtor’s interest

     11.     Accounts receivable

             11a. 90 days old or less:                                    -                                               ➔
                                                                                                                     =.....
                                         face amount                          doubtful or uncollectible accounts

             11b. Over 90 days old:                                       -                                               ➔
                                                                                                                     =.....
                                         face amount                          doubtful or uncollectible accounts


     12.     Total of Part 3
             Current value on lines 11a + 11b = line 12. Copy the total to line 82.


          Part 4:       Investments

     13.     Does the debtor own any investments?

             ✔ No. Go to Part 5.
             ❑
             ❑ Yes. Fill in the information below.
                                                                                                                     Valuation method used   Current value of
                                                                                                                     for current value       debtor’s interest

     14.     Mutual funds or publicly traded stocks not included in Part 1

             Name of fund or stock:

             14.1

             14.2


     15.     Non-publicly traded stock and interests in incorporated and unincorporated businesses,
             including any interest in an LLC, partnership, or joint venture

             Name of entity:                                                                     % of
                                                                                                 ownership:

             15.1.

             15.2.



    Official Form 206A/B                                   Schedule A/B: Assets — Real and Personal Property                                                     page 2
Filed 01/10/25                                                              Case 25-10074                                                                           Doc 1
    Debtor          Capital Farms, Inc                                                                 Case number (if known)
                    Name




     16.     Government bonds, corporate bonds, and other negotiable and non-negotiable
             instruments not included in Part 1

             Describe:

             16.1

             16.2


     17.     Total of Part 4
             Add lines 14 through 16. Copy the total to line 83.


       Part 5:           Inventory, excluding agriculture assets

     18.     Does the debtor own any inventory (excluding agriculture assets)?

             ✔ No. Go to Part 6.
             ❑
             ❑ Yes. Fill in the information below.
             General description                                   Date of the last     Net book value of      Valuation method used   Current value of
                                                                   physical inventory   debtor's interest      for current value       debtor’s interest

                                                                                        (Where available)

     19.     Raw materials


                                                                   MM / DD / YYYY


     20.     Work in progress


                                                                   MM / DD / YYYY


     21.     Finished goods, including goods held for resale


                                                                   MM / DD / YYYY


     22.     Other inventory or supplies


                                                                   MM / DD / YYYY


     23.     Total of Part 5
             Add lines 19 through 22. Copy the total to line 84.


     24.     Is any of the property listed in Part 5 perishable?

             ✔ No
             ❑
             ❑ Yes
     25.     Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

             ✔ No
             ❑
             ❑ Yes. Book value                           Valuation method                      Current value

     26.     Has any of the property listed in Part 5 been appraised by a professional within the last year?

             ✔ No
             ❑
             ❑ Yes
       Part 6:           Farming and fishing-related assets (other than titled motor vehicles and land)




    Official Form 206A/B                                  Schedule A/B: Assets — Real and Personal Property                                                page 3
Filed 01/10/25                                                              Case 25-10074                                                                          Doc 1
    Debtor         Capital Farms, Inc                                                                 Case number (if known)
                  Name




     27.     Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

             ❑ No. Go to Part 7.
             ✔ Yes. Fill in the information below.
             ❑
             General description                                                       Net book value of      Valuation method used   Current value of
                                                                                       debtor's interest      for current value       debtor’s interest

                                                                                       (Where available)

     28.     Crops—either planted or harvested

             Approximately 18,797 lbs. of almond crops from
             Jameson Ranch being processed at Bapu Almond
             Company, Inc. Value estimate based on $2.25 lb.                                    unknown                                           $42,293.25

             Approximately 444,199 lbs. of almond crops from
             Brawley property being processed at Campos Bros
             Farms. Value estimate based on $2.25 lb.                                           unknown                                         $999,447.75

             Approximately 744,877 lbs. of almond crops from
             Brewer, Natomas Ranch, Sankey Ranch, Jameson
             Ranch, & Baseline Ranch being processed at T.M.
             Duche Nut Co., Inc. Value estimate based on $2.25 lb.                              unknown                                       $1,675,973.25

             Approximately 154,668 lbs. of almond crops from East
             Block, West Block, Sankey Ranch being processed at
             Vann Family Orchards. Value estimate based on $2.25
             lb.                                                                                unknown                                         $348,003.00


     29.     Farm animals Examples: Livestock, poultry, farm-raised fish




     30.     Farm machinery and equipment (Other than titled motor vehicles)

             See Attachment to Schedule B.                                                      unknown                                       $1,081,000.00


     31.     Farm and fishing supplies, chemicals, and feed




     32.     Other farming and fishing-related property not already listed in Part 6




     33.     Total of Part 6
                                                                                                                                            $4,146,717.25
             Add lines 28 through 32. Copy the total to line 85.


     34.     Is the debtor a member of an agricultural cooperative?

             ✔ No
             ❑
             ❑ Yes. Is any of the debtor’s property stored at the cooperative?
                ❑ No
                ❑ Yes
     35.     Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

             ✔ No
             ❑
             ❑ Yes. Book value                           Valuation method                     Current value




    Official Form 206A/B                                  Schedule A/B: Assets — Real and Personal Property                                               page 4
Filed 01/10/25                                                             Case 25-10074                                                                             Doc 1
    Debtor          Capital Farms, Inc                                                                   Case number (if known)
                    Name




     36.     Is a depreciation schedule available for any of the property listed in Part 6?

             ✔ No
             ❑
             ❑ Yes
     37.     Has any of the property listed in Part 6 been appraised by a professional within the last year?

             ✔ No
             ❑
             ❑ Yes
       Part 7:         Office furniture, fixtures, and equipment; and collectibles

     38.     Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

             ✔ No. Go to Part 8.
             ❑
             ❑ Yes. Fill in the information below.
             General description                                                          Net book value of     Valuation method used   Current value of
                                                                                          debtor's interest     for current value       debtor’s interest

                                                                                          (Where available)

     39.     Office furniture




     40.     Office fixtures




     41.     Office equipment, including all computer equipment and
             communication systems equipment and software




     42.     Collectibles Examples: Antiques and figurines; paintings, prints, or other
             artwork; books, pictures, or other art objects; china and crystal; stamp,
             coin, or baseball card collections; other collections, memorabilia, or
             collectibles

             42.1

             42.2

             42.3


     43.     Total of Part 7
             Add lines 39 through 42. Copy the total to line 86.


     44.     Is a depreciation schedule available for any of the property listed in Part 7?

             ✔ No
             ❑
             ❑ Yes
     45.     Has any of the property listed in Part 7 been appraised by a professional within the last year?

             ✔ No
             ❑
             ❑ Yes
       Part 8:         Machinery, equipment, and vehicles

     46.     Does the debtor own or lease any machinery, equipment, or vehicles?

             ❑ No. Go to Part 9.
             ✔ Yes. Fill in the information below.
             ❑

    Official Form 206A/B                                  Schedule A/B: Assets — Real and Personal Property                                                 page 5
Filed 01/10/25                                                              Case 25-10074                                                                           Doc 1
    Debtor          Capital Farms, Inc                                                                  Case number (if known)
                    Name




             General description                                                         Net book value of     Valuation method used   Current value of
                                                                                         debtor's interest     for current value       debtor’s interest
             Include year, make, model, and identification numbers (i.e., VIN, HIN, or
             N-number)                                                                   (Where available)

     47.     Automobiles, vans, trucks, motorcycles, trailers, and titled farm
             vehicles

             47.1 2017 Ram 1500 Crew Laramie / VIN: 1C6RR7NM5HS877169                             unknown                                           $8,471.00
                    Fair Condition.


             47.2 2016 Ram 2500 Crew Cab Tradesman / VIN:                                         unknown                                          $13,487.00
                    3C6UR4CL6GG221572 Fair Condition.


             47.3 2020 Chevrolet Silverado 1500 Crew Cab High                                     unknown                                          $23,880.00
                    County / VIN: 3GCUYHET5LG403144 Fair Condition.


     48.     Watercraft, trailers, motors, and related accessories Examples:
             Boats, trailers, motors, floating homes, personal watercraft, and fishing
             vessels

             48.1 2006 Korvan Grape Harvester / VIN: 3016 XL                                      unknown                                          $12,000.00
                    534-810-600015


             48.2 2022 KUBOTA RTV-X900RL-A, UV Camo w/ATV                                         unknown                                          $12,000.00
                    Tires/Linrer / VIN: ASKB2FDBPNG071581


     49.     Aircraft and accessories

             49.1

             49.2


     50.     Other machinery, fixtures, and equipment (excluding farm
             machinery and equipment)

             2022 KUBOTA RTV-X900WL-A, UV worksite w/ATV
             Tries/Liner / VIN: ASKB2FGBVNG071523                                                 unknown                                          $12,000.00


     51.     Total of Part 8
                                                                                                                                                 $81,838.00
             Add lines 47 through 50. Copy the total to line 87.


     52.     Is a depreciation schedule available for any of the property listed in Part 8?

             ✔ No
             ❑
             ❑ Yes
     53.     Has any of the property listed in Part 8 been appraised by a professional within the last year?

             ✔ No
             ❑
             ❑ Yes
       Part 9:          Real property

     54.     Does the debtor own or lease any real property?

             ✔ No. Go to Part 10.
             ❑
             ❑ Yes. Fill in the information below.
     55.     Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest




    Official Form 206A/B                                   Schedule A/B: Assets — Real and Personal Property                                               page 6
Filed 01/10/25                                                             Case 25-10074                                                                                Doc 1
    Debtor          Capital Farms, Inc                                                                    Case number (if known)
                    Name




             Description and location of property                Nature and extent        Net book value of        Valuation method used   Current value of
             Include street address or other description such    of debtor’s interest     debtor's interest        for current value       debtor’s interest
             as Assessor Parcel Number (APN), and type of        in property
             property (for example, acreage, factory,                                     (Where available)
             warehouse, apartment or office building), if
             available.

             55.1

             55.2

             55.3

             55.4

             55.5

             55.6


     56.     Total of Part 9
             Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.


     57.     Is a depreciation schedule available for any of the property listed in Part 9?

             ✔ No
             ❑
             ❑ Yes
     58.     Has any of the property listed in Part 9 been appraised by a professional within the last year?

             ✔ No
             ❑
             ❑ Yes
      Part 10:         Intangibles and intellectual property

     59.     Does the debtor have any interests in intangibles or intellectual property?

             ✔ No. Go to Part 11.
             ❑
             ❑ Yes. Fill in the information below.
             General description                                                          Net book value of        Valuation method used   Current value of
                                                                                          debtor's interest        for current value       debtor’s interest

                                                                                          (Where available)

     60.     Patents, copyrights, trademarks, and trade secrets




     61.     Internet domain names and websites




     62.     Licenses, franchises, and royalties




     63.     Customer lists, mailing lists, or other compilations




     64.     Other intangibles, or intellectual property




    Official Form 206A/B                                   Schedule A/B: Assets — Real and Personal Property                                                   page 7
Filed 01/10/25                                                             Case 25-10074                                                                                 Doc 1
    Debtor         Capital Farms, Inc                                                                      Case number (if known)
                   Name




     65.     Goodwill




     66.     Total of Part 10
             Add lines 60 through 65. Copy the total to line 89.


     67.     Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?

             ✔ No
             ❑
             ❑ Yes
     68.     Is there an amortization or other similar schedule available for any of the property listed in Part 10?

             ✔ No
             ❑
             ❑ Yes
     69.     Has any of the property listed in Part 10 been appraised by a professional within the last year?

             ✔ No
             ❑
             ❑ Yes
      Part 11:          All other assets

     70.     Does the debtor own any other assets that have not yet been reported on this form?
             Include all interests in executory contracts and unexpired leases not previously reported on this form.

             ❑ No. Go to Part 12.
             ✔ Yes. Fill in the information below.
             ❑
                                                                                                                                            Current value of
                                                                                                                                            debtor’s interest

     71.     Notes receivable

             Description (include name of obligor)

                                                                                          –                                         =   ➔
                                                                   Total face amount          doubtful or uncollectible amount


     72.     Tax refunds and unused net operating losses (NOLs)

             Description (for example, federal, state, local)

                                                                                                             Tax year

                                                                                                             Tax year

                                                                                                             Tax year


     73.     Interests in insurance policies or annuities

             FSA grant. Value is currently unknown. However, it is based on the higher of 2023 or 2024 gross
             receipts.                                                                                                                                   unknown

             Outstanding crop insurance claim based on the guaranteed vs actual production. Funds should be
             available the end of January 2025.                                                                                                       $209,998.50

             Two crop insurance claims with Pro Ag Insurance.                                                                                         $307,970.00


     74.     Causes of action against third parties (whether or not a lawsuit has
             been filed)




    Official Form 206A/B                                    Schedule A/B: Assets — Real and Personal Property                                                   page 8
Filed 01/10/25                                                          Case 25-10074                                                        Doc 1
    Debtor         Capital Farms, Inc                                                               Case number (if known)
                  Name




             Nature of claim

             Amount requested


     75.     Other contingent and unliquidated claims or causes of action of
             every nature, including counterclaims of the debtor and rights to
             set off claims



             Nature of claim

             Amount requested


     76.     Trusts, equitable or future interests in property




     77.     Other property of any kind not already listed Examples: Season
             tickets, country club membership




     78.     Total of Part 11
                                                                                                                             $517,968.50
             Add lines 71 through 77. Copy the total to line 90.


     79.     Has any of the property listed in Part 11 been appraised by a professional within the last year?

             ✔ No
             ❑
             ❑ Yes




    Official Form 206A/B                                  Schedule A/B: Assets — Real and Personal Property                         page 9
Filed 01/10/25                                                                                  Case 25-10074                                                                                     Doc 1
    Debtor           Capital Farms, Inc                                                                                                  Case number (if known)
                    Name




      Part 12:            Summary


     In Part 12 copy all of the totals from the earlier parts of the form.


             Type of property                                                                                      Current value of                         Current value
                                                                                                                   personal property                        of real property

     80.     Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                                                     $1,251.93

     81.     Deposits and prepayments. Copy line 9, Part 2.

     82.     Accounts receivable. Copy line 12, Part 3.

     83.     Investments. Copy line 17, Part 4.

     84.     Inventory. Copy line 23, Part 5.

     85.     Farming and fishing-related assets. Copy line 33, Part 6.                                                       $4,146,717.25

     86.     Office furniture, fixtures, and equipment; and collectibles.
             Copy line 43, Part 7.

     87.     Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                            $81,838.00


     88.     Real property. Copy line 56, Part 9..........................................................................................   ➔
     89.     Intangibles and intellectual property. Copy line 66, Part 10.

     90.     All other assets. Copy line 78, Part 11.                                                         +                 $517,968.50


     91.     Total. Add lines 80 through 90 for each column............................91a.                                 $4,747,775.68          + 91b.


     92.     Total of all property on Schedule A/B. Lines 91a + 91b = 92. .....................................................................................................   $4,747,775.68




    Official Form 206A/B                                                 Schedule A/B: Assets — Real and Personal Property                                                              page 10
Filed 01/10/25                                     Case 25-10074                                              Doc 1


                   Attachment to Schedule B
       Year        Equipment Type                                      Serial Number         Value
              2014 GHESK 151021 Shaker & Receiver                                            $   62,500.00
              2014 GHERV 152020 Bin Carrier with Tank                   S/N277591            $   62,500.00
              2004 KILBY SHAKER                                           1711D3             $   37,500.00
              2002 COE CATCHER WITH TANK                               4039D307750           $   37,500.00
              2006 SHAKER COE                                           C7M-06-302           $   50,000.00
              2007 RECEIVER COE WITH TANK                                L2-06-150           $   50,000.00
              1994 KILBY BIN CARRIER WITH TANK id 1002015010              BC-1124            $   40,000.00
              2006 COE BIN CARRIER WITH TANK id 1002015020          W8-4045-99-103-4WM       $   40,000.00
              1999 KILBY BIN CARRIER WITH TANK                            BC-1179            $   30,000.00
              1996 KILBY BIN CARRIER WITH TANK                            BC-1143            $   30,000.00
              1996 FRUEH FLAT BED TRAILER                               VVG354415            $     4,000.00
              2005 2 GANDOLAS                                       1)G05165 (2) G05170      $     9,000.00
                   2x FIELD DOLLY                                                            $     5,000.00
              2001 ALMOND PICKER Weiss Mcnair 9800                         1424              $   10,000.00
              2005 JACK RABBIT CONVEYER CART                                29               $   10,000.00
              2005 SCHEIDT FIELD CONVEYER ELEVATOR                         49214             $     7,000.00
              2006 OMC SHOCK WAVE ALMOND SHAKER                            6095              $   20,000.00
              2015 MAS SC-300 ROTARY TILER                              149660485            $   12,000.00
              2011 ELEVATOR SE-180 OMC                                     11120             $   50,000.00
              2011 OMC NUT CART AR-450 CAB/AC Tanks                        11116             $   30,000.00
              2012 (2) KCI NUT CART                                   KE-1089, KE1090        $     8,000.00
              2012 2X THOMAS NUT CART                                                        $     8,000.00
              2015 ECONOLINE TRAILER AP0720DE                       42EDPEG2XF1000132        $     5,000.00
              2006 2x Rears 600 Gal Sprayer                               L06-1127           $   20,000.00
                   Weiss McNair JD80 Sweeper                                99023            $   30,000.00
              2014 Weiss McNair JD80LP Sweeper                       Tag NS71 S/N 14128      $   30,000.00
              2016 DEU 420TB TRACTOR WITH CAB                               5316             $   20,000.00
              2016 KUBOTA RTV-X900                                 RTV-X900 SERIAL # 28352   $   10,000.00
              2011 JOHN DEERE 6430                                  1L06430XCBD694319        $   25,000.00
              2013 COE S7 SIDE MOUNT SHAKER                               S7-13-189          $   35,000.00
              2019 FLURY MODEL 860A ALMOND PICKER                          4012608           $   20,000.00
              2015 THOMAS CONEYOR CART                                 RC26 S/N 15754        $   60,000.00
              2006 REARS COMPOST SPREADER                               KMA15G920LP          $     8,000.00
              2006 REARS COMPOST SPREADER                                                    $     8,000.00
              2000 CAT FRONT LOADER                            D # 4EL00127 MODEL # IT14     $   40,000.00
              2000 DI-ANNA BRUSH SHREDDER                           VIN # 2007PT0003         $     5,000.00
              2000 VRISMP FLAIL MPWER                                                        $     5,000.00
              2000 VRISMP FLAIL MPWER                          VT16250-14FPB MOD LP-1268     $     5,000.00
              2000 RUSSEL BURM BLASTER                               VIN 108065-03           $     5,000.00
              2000 RUSSEL BURM BLASTER                               VIN 108512-22           $     5,000.00
              2019 WEISSA MCNAIR JD80LP                              SERIAL # 0817           $   35,000.00
              2007 John Deere 5625                                  LV5625R264110            $   20,000.00
Filed 01/10/25                                  Case 25-10074                                        Doc 1


            2012 FREIGHTLINER CASCADIA DAYCAB                   1FUJGEDR3CSBR7854   $    20,000.00
            2020 Thomas Nut Cart for Almonds                          16807         $    25,000.00
            2021 Ag Right Stick X                                                   $    15,000.00
            2014 600 Gall D&M Orchard Sprayer                                       $    12,000.00
            2014 Weiss Mcnair Nut Elevator                                          $     5,000.00
                                                                      Total         $ 1,081,000.00
Filed 01/10/25                                                                     Case 25-10074                                                                                    Doc 1
     Fill in this information to identify the case:

         Debtor name     Capital Farms, Inc

         United States Bankruptcy Court for the:                 Eastern                 District of        California
                                                                                                       (State)
         Case number (if known):                                                                                                                         ❑ Check if this is an
                                                                                                                                                             amended filing

     Official Form 206D

    Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                 12/15

    Be as complete and accurate as possible.

    1.     Do any creditors have claims secured by debtor’s property?
           ❑ No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
           ✔ Yes. Fill in all of the information below.
           ❑
          Part 1:       List Creditors Who Have Secured Claims

     2.     List in alphabetical order all creditors who have secured claims. If a creditor has more than one                  Column A                       Column B
            secured claim, list the creditor separately for each claim.                                                        Amount of claim                Value of collateral
                                                                                                                               Do not deduct the value        that supports this
                                                                                                                               of collateral.                 claim

     2.1 Creditor’s name                                         Describe debtor’s property that is subject to a lien
             Chase Auto Finance                                  2020 Chevrolet Silverado 1500 Crew Cab High County                         $15,801.85                $23,880.00

            Creditor’s mailing address                           Describe the lien

             PO Box 901033
             Fort Worth, TX 76101                                Is the creditor an insider or related party?
                                                                 ✔ No
                                                                 ❑
            Creditor’s email address, if known
                                                                 ❑ Yes
                                                                 Is anyone else liable on this claim?
            Date debt was incurred                               ✔ No
                                                                 ❑
                                                                 ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
            Last 4 digits of account       1    5   0       1
            number                                               As of the petition filing date, the claim is:
                                                                 Check all that apply.
            Do multiple creditors have an interest in
            the same property?                                   ❑ Contingent
            ✔ No
            ❑                                                    ❑ Unliquidated
            ❑ Yes. Specify each creditor, including this         ❑ Disputed
                     creditor, and its relative priority.




     3.     Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                $6,515,689.48
            Page, if any.


    Official Form 206D                                      Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 11
Filed 01/10/25                                                                 Case 25-10074                                                                               Doc 1
    Debtor       Capital Farms, Inc                                                                       Case number (if known)
              Name




       Part 1:        Additional Page                                                                                      Column A                  Column B
                                                                                                                           Amount of claim           Value of collateral
     Copy this page only if more space is needed. Continue numbering the lines sequentially from the                       Do not deduct the value   that supports this
     previous page.                                                                                                        of collateral.            claim

     2.2 Creditor’s name                                     Describe debtor’s property that is subject to a lien
          Farm Credit Services of America,                   2006 Korvan Grape Harvester                                                $56,100.00           $12,000.00
          PCA                                                Describe the lien
         Creditor’s mailing address                          UCC 12/14/23
          PO Box 2409                                        Is the creditor an insider or related party?
          Omaha, NE 68103                                    ✔ No
                                                             ❑
                                                             ❑ Yes
         Creditor’s email address, if known
                                                             Is anyone else liable on this claim?
                                                             ❑ No
         Date debt was incurred                              ✔ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                                                             ❑
         Last 4 digits of account       1      5   4     1   As of the petition filing date, the claim is:
         number                                              Check all that apply.

         Do multiple creditors have an interest in           ❑ Contingent
         the same property?                                  ❑ Unliquidated
         ✔ No
         ❑                                                   ❑ Disputed
         ❑ Yes. Have you already specified the
                   relative priority?
             ❑ No. Specify each creditor, including
                       this creditor, and its relative
                       priority.



             ❑ Yes. The relative priority of creditors
                       is specified on lines




    Official Form 206D                       Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                page 2 of 11
Filed 01/10/25                                                                 Case 25-10074                                                                               Doc 1
    Debtor       Capital Farms, Inc                                                                       Case number (if known)
              Name




       Part 1:        Additional Page                                                                                      Column A                  Column B
                                                                                                                           Amount of claim           Value of collateral
     Copy this page only if more space is needed. Continue numbering the lines sequentially from the                       Do not deduct the value   that supports this
     previous page.                                                                                                        of collateral.            claim

     2.3 Creditor’s name                                     Describe debtor’s property that is subject to a lien
          Kubota Credit Corporation                          2022 KUBOTA RTV-X900WL-A, UV worksite w/ATV                                $12,009.57           $24,000.00
                                                             Tries/Liner, 2022 KUBOTA RTV-X900RL-A, UV Camo
         Creditor’s mailing address                          w/ATV Tires/Linrer
          PO Box 2046                                        Describe the lien
          Grapevine, TX 76099                                UCC 5/28/2022

         Creditor’s email address, if known                  Is the creditor an insider or related party?
                                                             ✔ No
                                                             ❑
                                                             ❑ Yes
         Date debt was incurred
                                                             Is anyone else liable on this claim?
         Last 4 digits of account       6      6   2     0   ❑ No
         number                                              ✔ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                                                             ❑
         Do multiple creditors have an interest in
                                                             As of the petition filing date, the claim is:
         the same property?
         ✔ No
                                                             Check all that apply.
         ❑
                                                             ❑ Contingent
         ❑ Yes. Have you already specified the
                   relative priority?                        ❑ Unliquidated
                                                             ❑ Disputed
             ❑ No. Specify each creditor, including
                       this creditor, and its relative
                       priority.



             ❑ Yes. The relative priority of creditors
                       is specified on lines




    Official Form 206D                       Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                page 3 of 11
Filed 01/10/25                                                                 Case 25-10074                                                                               Doc 1
    Debtor       Capital Farms, Inc                                                                       Case number (if known)
              Name




       Part 1:        Additional Page                                                                                      Column A                  Column B
                                                                                                                           Amount of claim           Value of collateral
     Copy this page only if more space is needed. Continue numbering the lines sequentially from the                       Do not deduct the value   that supports this
     previous page.                                                                                                        of collateral.            claim

     2.4 Creditor’s name                                     Describe debtor’s property that is subject to a lien
          Rabo AgriFinance                                                                                                          $4,085,040.79             unknown

         Creditor’s mailing address
          PO Box 410650
          Saint Louis, MO 63141-0650                         Describe the lien
                                                             UCC
         Creditor’s email address, if known
                                                             Is the creditor an insider or related party?
                                                             ✔ No
                                                             ❑
                                                             ❑ Yes
         Date debt was incurred

         Last 4 digits of account       0      0   7     6   Is anyone else liable on this claim?
                                                             ❑ No
         number

         Do multiple creditors have an interest in           ✔ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                                                             ❑
         the same property?
         ✔ No
         ❑                                                   As of the petition filing date, the claim is:
                                                             Check all that apply.
         ❑ Yes. Have you already specified the
                   relative priority?                        ❑ Contingent
             ❑ No. Specify each creditor, including          ❑ Unliquidated
                       this creditor, and its relative       ❑ Disputed
                       priority.



             ❑ Yes. The relative priority of creditors
                       is specified on lines




    Official Form 206D                       Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                page 4 of 11
Filed 01/10/25                                                                 Case 25-10074                                                                               Doc 1
    Debtor       Capital Farms, Inc                                                                       Case number (if known)
              Name




       Part 1:        Additional Page                                                                                      Column A                  Column B
                                                                                                                           Amount of claim           Value of collateral
     Copy this page only if more space is needed. Continue numbering the lines sequentially from the                       Do not deduct the value   that supports this
     previous page.                                                                                                        of collateral.            claim

     2.5 Creditor’s name                                     Describe debtor’s property that is subject to a lien
          Rabo AgriFinance LLC                                                                                                      $1,051,737.27             unknown

         Creditor’s mailing address
          PO Box 411995
          Saint Louis, MO 63141                              Describe the lien
                                                             UCC
         Creditor’s email address, if known
                                                             Is the creditor an insider or related party?
                                                             ✔ No
                                                             ❑
                                                             ❑ Yes
         Date debt was incurred

         Last 4 digits of account       6      0   0     1   Is anyone else liable on this claim?
                                                             ❑ No
         number

         Do multiple creditors have an interest in           ✔ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                                                             ❑
         the same property?
         ✔ No
         ❑                                                   As of the petition filing date, the claim is:
                                                             Check all that apply.
         ❑ Yes. Have you already specified the
                   relative priority?                        ❑ Contingent
             ❑ No. Specify each creditor, including          ❑ Unliquidated
                       this creditor, and its relative       ❑ Disputed
                       priority.



             ❑ Yes. The relative priority of creditors
                       is specified on lines




    Official Form 206D                       Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                page 5 of 11
Filed 01/10/25                                                               Case 25-10074                                                                               Doc 1
    Debtor       Capital Farms, Inc                                                                     Case number (if known)
              Name




       Part 1:        Additional Page                                                                                    Column A                  Column B
                                                                                                                         Amount of claim           Value of collateral
     Copy this page only if more space is needed. Continue numbering the lines sequentially from the                     Do not deduct the value   that supports this
     previous page.                                                                                                      of collateral.            claim

     2.6 Creditor’s name                                   Describe debtor’s property that is subject to a lien
          T.M. Duche Nut Co                                                                                                         $500,000.00             unknown

         Creditor’s mailing address
          1502 Railroad Ave
          Orland, CA 95963                                 Describe the lien

         Creditor’s email address, if known
                                                           Is the creditor an insider or related party?
                                                           ✔ No
                                                           ❑
         Date debt was incurred
                                                           ❑ Yes
         Last 4 digits of account                          Is anyone else liable on this claim?
         number
                                                           ❑ No
         Do multiple creditors have an interest in         ✔ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                                                           ❑
         the same property?
         ✔ No
         ❑
                                                           As of the petition filing date, the claim is:
                                                           Check all that apply.
         ❑ Yes. Have you already specified the
                   relative priority?                      ❑ Contingent
                                                           ❑ Unliquidated
             ❑ No. Specify each creditor, including
                       this creditor, and its relative     ❑ Disputed
                       priority.



             ❑ Yes. The relative priority of creditors
                       is specified on lines




    Official Form 206D                       Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                              page 6 of 11
Filed 01/10/25                                                                 Case 25-10074                                                                               Doc 1
    Debtor       Capital Farms, Inc                                                                       Case number (if known)
              Name




       Part 1:        Additional Page                                                                                      Column A                  Column B
                                                                                                                           Amount of claim           Value of collateral
     Copy this page only if more space is needed. Continue numbering the lines sequentially from the                       Do not deduct the value   that supports this
     previous page.                                                                                                        of collateral.            claim

     2.7 Creditor’s name                                     Describe debtor’s property that is subject to a lien
          Tech Ag Financial Group, Inc                                                                                                $420,000.00             unknown

         Creditor’s mailing address
          3430 Unicorn Rd
          Bakersfield, CA 93308                              Describe the lien
                                                             UCC-1 filed 2/9/2024
         Creditor’s email address, if known
                                                             Is the creditor an insider or related party?
                                                             ✔ No
                                                             ❑
                                                             ❑ Yes
         Date debt was incurred

         Last 4 digits of account       9      0   4     0   Is anyone else liable on this claim?
                                                             ❑ No
         number

         Do multiple creditors have an interest in           ✔ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                                                             ❑
         the same property?
         ✔ No
         ❑                                                   As of the petition filing date, the claim is:
                                                             Check all that apply.
         ❑ Yes. Have you already specified the
                   relative priority?                        ❑ Contingent
             ❑ No. Specify each creditor, including          ❑ Unliquidated
                       this creditor, and its relative       ❑ Disputed
                       priority.



             ❑ Yes. The relative priority of creditors
                       is specified on lines

         Remarks: CVCS24-0002314




    Official Form 206D                       Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                page 7 of 11
Filed 01/10/25                                                                 Case 25-10074                                                                               Doc 1
    Debtor       Capital Farms, Inc                                                                       Case number (if known)
              Name




       Part 1:        Additional Page                                                                                      Column A                  Column B
                                                                                                                           Amount of claim           Value of collateral
     Copy this page only if more space is needed. Continue numbering the lines sequentially from the                       Do not deduct the value   that supports this
     previous page.                                                                                                        of collateral.            claim

     2.8 Creditor’s name                                     Describe debtor’s property that is subject to a lien
          Wilbur-Ellis Company LLC                                                                                                    $375,000.00             unknown

         Creditor’s mailing address
          345 California St, 27th Fl
          San Francisco, CA 94104                            Describe the lien
                                                             CVCS24-0002586
         Creditor’s email address, if known
                                                             Is the creditor an insider or related party?
                                                             ✔ No
                                                             ❑
                                                             ❑ Yes
         Date debt was incurred

         Last 4 digits of account       1      5   4     1   Is anyone else liable on this claim?
                                                             ❑ No
         number

         Do multiple creditors have an interest in           ✔ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                                                             ❑
         the same property?
         ✔ No
         ❑                                                   As of the petition filing date, the claim is:
                                                             Check all that apply.
         ❑ Yes. Have you already specified the
                   relative priority?                        ❑ Contingent
             ❑ No. Specify each creditor, including          ❑ Unliquidated
                       this creditor, and its relative       ❑ Disputed
                       priority.



             ❑ Yes. The relative priority of creditors
                       is specified on lines

         Remarks: Many Invoice numbers.




    Official Form 206D                       Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                page 8 of 11
Filed 01/10/25                                                         Case 25-10074                                                                            Doc 1
    Debtor      Capital Farms, Inc                                                               Case number (if known)
              Name




      Part 2:        List Others to Be Notified for a Debt Already Listed in Part 1

     List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection
     agencies, assignees of claims listed above, and attorneys for secured creditors.

     If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.


     Name and address                                                                                           On which line in Part 1     Last 4 digits of
                                                                                                                did you enter the           account number
                                                                                                                related creditor?           for this entity

     Chase Auto Finance
     PO Box 650351                                                                                              Line 2. 1
     Dallas, TX 75265-0351

     Farm Credit Services of America, PCA
     c/o Frandzel Robins Bloom & Csato, LC
                                                                                                                Line 2. 2
     1000 Wilshire Blvd, 19th Fl
     Los Angeles, CA 90017-2427

     Wolters Kluwer Lien Solutions
     Lien Solutions
                                                                                                                Line 2. 2
     PO Box 29071
     Glendale, CA 91209-9070

     San Joaquin Tractor Co
     710 S High St                                                                                              Line 2. 2
     Delano, CA 93215

     Ag Direct
     5015 S 118th St                                                                                            Line 2. 2
     Omaha, NE 68103

     Ag Direct
     PO Box 2409                                                                                                Line 2. 2
     Omaha, NE 68103

     Farm Credit Services of America, PCA
     5015 S 118th St                                                                                            Line 2. 2
     Omaha, NE 68103-2409

     Wolters Kluwer Lien Solutions
     Lien Solutions
                                                                                                                Line 2. 3
     PO Box 29071
     Glendale, CA 91209-9070

     Kubota Credit Corporation
     PO Box 0559                                                                                                Line 2. 3
     Carol Stream, IL 60132-0559



    Form 206D                             Official Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                           page 9 of 11
Filed 01/10/25                                                   Case 25-10074                                                                        Doc 1
    Debtor      Capital Farms, Inc                                                       Case number (if known)
             Name




     Name and address                                                                                   On which line in Part 1   Last 4 digits of
                                                                                                        did you enter the         account number
                                                                                                        related creditor?         for this entity

     Holt Ag Solutions
     PO Box 138025                                                                                     Line 2. 3                  0   9   0   1
     Sacramento, CA 95813-8025

     Holt Ag Solutions
     95 W Kentucky Ave                                                                                 Line 2. 3
     Woodland, CA 95695

     AKT Brewer 315, LLC
     c/o AKT Investments Inc
     Attn Chris Donnelly
                                                                                                       Line 2. 5
     7700 College Town Dr, Ste 101
     Sacramento, CA 95826

     Wolters Kluwer Lien Solutions
     Lien Solutions
                                                                                                       Line 2. 5
     PO Box 29071
     Glendale, CA 91209-9070

     AKT Brewer 315, LLC
     7919 Folsom Blvd, Ste 300                                                                         Line 2. 5
     Sacramento, CA 95826-2616

     Rabo AgriFinance
     14767 N Outer 40 Rd, Ste 400                                                                      Line 2. 5
     Chesterfield, MO 63017

     Rabo AgriFinance
     PO Box 410650                                                                                     Line 2. 5
     Saint Louis, MO 63141-0650

     Wolters Kluwer Lien Solutions
     Lien Solutions
                                                                                                       Line 2. 7
     PO Box 29071
     Glendale, CA 91209-9070

     Frandzel Robins Bloom & Csato, LC
     Michael J. Gomez
                                                                                                       Line 2. 7
     1000 Wilshire Blvd, 19th Floor
     Los Angeles, CA 90017-2427




    Form 206D                         Official Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                    page 10 of 11
Filed 01/10/25                                                  Case 25-10074                                                                        Doc 1
    Debtor      Capital Farms, Inc                                                      Case number (if known)
             Name




     Name and address                                                                                  On which line in Part 1   Last 4 digits of
                                                                                                       did you enter the         account number
                                                                                                       related creditor?         for this entity

     Tech Ag Financial
     PO Box 64949                                                                                     Line 2. 7
     Saint Paul, MN 55164-0949

     Wolters Kluwer Lien Solutions
     Lien Solutions
                                                                                                      Line 2. 8
     PO Box 29071
     Glendale, CA 91209-9070

     Wilbur-Ellis Company LLC
     PO Box 45326                                                                                     Line 2. 8
     San Francisco, CA 94145-0326

     Credit Department
     6795 N Palm Ave, Ste 103                                                                         Line 2. 8
     Fresno, CA 93704




    Form 206D                        Official Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                    page 11 of 11
Filed 01/10/25                                                            Case 25-10074                                                                           Doc 1

  Fill in this information to identify the case:

  Debtor name                             Capital Farms, Inc

  United States Bankruptcy Court for the:
                            Eastern District of California

  Case number (if known):                                                                                                           ❑ Check if this is an
                                                                                                                                       amended filing

 Official Form 206E/F
 Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured
 claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets
 - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases(Official Form 206G). Number the entries
 in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

  Part 1: List All Creditors with PRIORITY Unsecured Claims

   1.    Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507)
         ❑ No. Go to Part 2.
         ✔ Yes. Go to line 2.
         ❑
  2.    List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
        with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                               Total claim                  Priority amount

  2.1 Priority creditor’s name and mailing address            As of the petition filing date, the claim is:    unknown                       unknown
                                                              Check all that apply.
                                                              ❑ Contingent
        Employment Development
        Department (EDD)
                                                              ❑ Unliquidated
        Bankruptcy Special Procedures                         ❑ Disputed
        Group
        MIC 92G                                               Basis for the Claim:

        PO Box 826880
        Sacramento, CA 94280-0001                             Is the claim subject to offset?
                                                              ✔ No
                                                              ❑
        Date or dates debt was incurred
                                                              ❑ Yes

        Last 4 digits of account
        number
        Specify Code subsection of PRIORITY unsecured
        claim: 11 U.S.C. § 507(a) (8)
        Remarks: Listing out of caution for possible debt.

  2.2 Priority creditor’s name and mailing address            As of the petition filing date, the claim is:    unknown                       unknown
                                                              Check all that apply.
                                                              ❑ Contingent
        Franchise Tax Board
        Bankruptcy Section MS A-340                           ❑ Unliquidated
        PO Box 2952                                           ❑ Disputed
        Sacramento, CA 95812-2952                             Basis for the Claim:

        Date or dates debt was incurred

                                                              Is the claim subject to offset?
                                                              ✔ No
                                                              ❑
        Last 4 digits of account                              ❑ Yes
        number
        Specify Code subsection of PRIORITY unsecured
        claim: 11 U.S.C. § 507(a) (8)
        Remarks: Listing out of caution for possible debt.



 Official Form 206E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                              page 1 of 7
Filed 01/10/25                                                          Case 25-10074                                                              Doc 1

 Debtor     Capital Farms, Inc                                                                                Case number (if known)
            Name




  Part 1: Additional Page

  2.3 Priority creditor’s name and mailing address            As of the petition filing date, the claim is:   unknown                  unknown
                                                              Check all that apply.
                                                              ❑ Contingent
       Internal Revenue Service
       PO Box 7346                                            ❑ Unliquidated
       Philadelphia, PA 19101-7346                            ❑ Disputed
      Date or dates debt was incurred                         Basis for the Claim:



                                                              Is the claim subject to offset?
                                                              ✔ No
      Last 4 digits of account
                                                              ❑
                                                              ❑ Yes
      number
      Specify Code subsection of PRIORITY unsecured
      claim: 11 U.S.C. § 507(a) (8)
      Remarks: Listing out of caution for possible debt.




 Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                 page 2 of 7
Filed 01/10/25                                                           Case 25-10074                                                                            Doc 1

 Debtor        Capital Farms, Inc                                                                              Case number (if known)
              Name

  Part 2: List All Creditors with NONPRIORITY Unsecured Claims

   3.     List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured
          claims, fill out and attach the Additional Page of Part 2.
                                                                                                                                        Amount of claim

  3.1 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:              $131,172.97
                                                                             Check all that apply.
                                                                             ❑ Contingent
        Bear River Supply Inc

        218 Pleasant Grove Road                                              ❑ Unliquidated
        Rio Oso, CA 95674
                                                                             ❑ Disputed
                                                                             Basis for the claim:
        Date or dates debt was incurred                                      Is the claim subject to offset?
                                                                             ✔ No
                                                                             ❑
        Last 4 digits of account number         1   7   7    5               ❑ Yes
  3.2 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:              $156,282.00
                                                                             Check all that apply.
                                                                             ❑ Contingent
        Beewise US Inc

        PO Box 767                                                           ❑ Unliquidated
        San Ramon, CA 94583
                                                                             ❑ Disputed
                                                                             Basis for the claim:
        Date or dates debt was incurred                                      Is the claim subject to offset?
                                                                             ✔ No
                                                                             ❑
        Last 4 digits of account number         0   7   4    3               ❑ Yes
  3.3 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:              $432,060.96
                                                                             Check all that apply.
                                                                             ❑ Contingent
        BWC

        445 Minnesota St, Ste 1700                                           ❑ Unliquidated
        Saint Paul, MN 55101-3161
                                                                             ❑ Disputed
                                                                             Basis for the claim:
        Date or dates debt was incurred                                      Is the claim subject to offset?
                                                                             ✔ No
                                                                             ❑
        Last 4 digits of account number         0   4   0    0               ❑ Yes
        Nonpriority creditor’s name and mailing address                      As of the petition filing date, the claim is:              $33,643.64
  3.4                                                                        Check all that apply.
                                                                             ❑ Contingent
        Evolution Equipment Services Inc

        PO Box 827                                                           ❑ Unliquidated
        Victor, CA 95253
                                                                             ❑ Disputed
                                                                             Basis for the claim:
        Date or dates debt was incurred                                      Is the claim subject to offset?
                                                                             ✔ No
                                                                             ❑
        Last 4 digits of account number         9   2   9    4               ❑ Yes




 Official Form 206E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                             page 3 of 7
Filed 01/10/25                                                        Case 25-10074                                                                    Doc 1

 Debtor       Capital Farms, Inc                                                                           Case number (if known)
             Name




  Part 2: Additional Page

  3.5 Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $17,977.76
                                                                         Check all that apply.
                                                                         ❑ Contingent
        Mechanics Bank

        Riverlakes Drive Branch                                          ❑ Unliquidated
                                                                         ❑ Disputed
        PO Box 6010
                                                                         Basis for the claim:
        Santa Maria, CA 93456-6010
                                                                         Is the claim subject to offset?
                                                                         ✔ No
                                                                         ❑
        Date or dates debt was incurred                                  ❑ Yes
        Last 4 digits of account number      5   6   8     0

  3.6 Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $16,331.43
                                                                         Check all that apply.
                                                                         ❑ Contingent
        Moe's Crop Dusting Service, Inc

        PO Box 804                                                       ❑ Unliquidated
        Marysville, CA 95901
                                                                         ❑ Disputed
                                                                         Basis for the claim:
        Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                         ✔ No
                                                                         ❑
        Last 4 digits of account number                                  ❑ Yes
  3.7 Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $4,880.54
                                                                         Check all that apply.
                                                                         ❑ Contingent
        PG&E

        PO Box 997300                                                    ❑ Unliquidated
        Sacramento, CA 95899-7300
                                                                         ❑ Disputed
                                                                         Basis for the claim: Brewer Rd property
                                                                         Is the claim subject to offset?
                                                                         ✔ No
        Date or dates debt was incurred
                                                                         ❑
        Last 4 digits of account number      6   1   2     6             ❑ Yes
        Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:              $2,111.89
  3.8                                                                    Check all that apply.
                                                                         ❑ Contingent
        PG&E

        4101 Wible Rd                                                    ❑ Unliquidated
        Bakersfield, CA 93313
                                                                         ❑ Disputed
                                                                                                Brewer Rd, Jackson
                                                                         Basis for the claim: property
        Date or dates debt was incurred
                                                                         Is the claim subject to offset?
        Last 4 digits of account number      4   8   1     6             ✔ No
                                                                         ❑
                                                                         ❑ Yes




 Official Form 206E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                      page 4 of 7
Filed 01/10/25                                                         Case 25-10074                                                                      Doc 1

 Debtor        Capital Farms, Inc                                                                            Case number (if known)
              Name




  Part 2: Additional Page

  3.9     Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:              $2,151.30
                                                                           Check all that apply.
                                                                           ❑ Contingent
          PG&E

          PO Box 997300                                                    ❑ Unliquidated
          Sacramento, CA 95899-7300
                                                                           ❑ Disputed
                                                                           Basis for the claim: Natomas Rd property
                                                                           Is the claim subject to offset?
                                                                           ✔ No
          Date or dates debt was incurred
                                                                           ❑
          Last 4 digits of account number      2   4   2     1             ❑ Yes
  3.10 Nonpriority creditor’s name and mailing address                     As of the petition filing date, the claim is:              $35,849.79
                                                                           Check all that apply.
                                                                           ❑ Contingent
          ProAg

          PO Box 975034                                                    ❑ Unliquidated
          Dallas, TX 75397-5034
                                                                           ❑ Disputed
                                                                                                Crop insurance
                                                                                                premium for 2024.
          Date or dates debt was incurred
                                                                                                Anticipate will be
          Last 4 digits of account number      0   7   6     7                                  deducted from
                                                                           Basis for the claim: insurance proceeds.
                                                                           Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
                                                                           ❑ Yes
  3.11 Nonpriority creditor’s name and mailing address                     As of the petition filing date, the claim is:              $91,873.24
                                                                           Check all that apply.
                                                                           ❑ Contingent
          Simplot Grower Solutions

          10985 Ballico Avenue                                             ❑ Unliquidated
          Ballico, CA 95303-9756
                                                                           ❑ Disputed
                                                                           Basis for the claim: Ferilizer bills
                                                                           Is the claim subject to offset?
                                                                           ✔ No
          Date or dates debt was incurred
                                                                           ❑
          Last 4 digits of account number      8   2   1     8             ❑ Yes
          Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:              $342,000.00
  3.12                                                                     Check all that apply.
                                                                           ❑ Contingent
          United Farms Inc

          251 Shrike Circle                                                ❑ Unliquidated
          Sacramento, CA 95834
                                                                           ❑ Disputed
                                                                                                 Debt for intercompany
                                                                           Basis for the claim: debts.
          Date or dates debt was incurred
                                                                           Is the claim subject to offset?
          Last 4 digits of account number                                  ✔ No
                                                                           ❑
                                                                           ❑ Yes




 Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                        page 5 of 7
Filed 01/10/25                                                            Case 25-10074                                                                           Doc 1

 Debtor        Capital Farms, Inc                                                                              Case number (if known)
               Name

  Part 3: List Others to Be Notified About Unsecured Claims

  4.     List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection
         agencies, assignees of claims listed above, and attorneys for unsecured creditors.
       If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.


           Name and mailing address                                                     On which line in Part 1 or Part 2 is the related         Last 4 digits of
                                                                                        creditor (if any) listed?                                account number,
                                                                                                                                                 if any

  4.1     Elan Financial Services                                                     Line 3.5

          PO Box 790408                                                               ❑ Not listed. Explain
          Saint Louis, MO 63179-0408

  4.2     Elan Financial Services                                                     Line 3.5

          PO Box 6335                                                                 ❑ Not listed. Explain
          Fargo, ND 58125-6335

  4.3     Simplot Grower Solutions                                                    Line 3.11

          PO Box 850                                                                  ❑ Not listed. Explain
          Colusa, CA 95932

  4.4     United States Attorney                                                      Line 2.3

          (For Internal Revenue Service)                                              ❑ Not listed. Explain
          2500 Tulare Street, Suite 4401
          Fresno, CA 93721

  4.5     United States Department of Justice                                         Line 2.3

          Civil Trial Section Western Region                                          ❑ Not listed. Explain
          Box 683 Ben Franklin Station
          Washington, DC 20044




 Official Form 206E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                              page 6 of 7
Filed 01/10/25                                                      Case 25-10074                                                  Doc 1

 Debtor       Capital Farms, Inc                                                                   Case number (if known)
             Name

  Part 4: Total Amounts of the Priority and Nonpriority Unsecured Claims


   5.     Add the amounts of priority and nonpriority unsecured claims.


                                                                                                    Total of claim amounts



   5a. Total claims from Part 1                                                     5a.              $0.00



   5b. Total claims from Part 2                                                     5b.
                                                                                           +         $1,266,335.52



   5c. Total of Parts 1 and 2                                                       5c.              $1,266,335.52
       Lines 5a + 5b = 5c.




 Official Form 206E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                     page 7 of 7
Filed 01/10/25                                                           Case 25-10074                                                                           Doc 1

  Fill in this information to identify the case:

  Debtor name                             Capital Farms, Inc

  United States Bankruptcy Court for the:
                            Eastern District of California

  Case number (if known):                                      Chapter   12                                                        ❑ Check if this is an
                                                                                                                                      amended filing

 Official Form 206G
 Schedule G: Executory Contracts and Unexpired Leases                                                                                                           12/15
 Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries
 consecutively.
  1.    Does the debtor have any executory contracts or unexpired leases?
        ❑ No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
        ✔ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official Form
        ❑
        206A/B).
  2. List all contracts and unexpired leases                                               State the name and mailing address for all other parties with whom the
                                                                                           debtor has an executory contract or unexpired lease

        State what the contract or
                                              Debtor leases from AKT Brewer                AKT Brewer 315, LLC
  2.1   lease is for and the nature
        of the debtor’s interest
                                              315, LLC land in Placer County and
                                                                                           c/o AKT Investments Inc Attn Chris Donnelly
                                              composed of 302.4 +/- farm land.
                                              Includes APN's 017-130-006,                  7700 College Town Dr, Ste 101
                                              017-130-021. Lease began January
                                              2016 and will end December 31,               Sacramento, CA 95826
                                              2040.
                                              Contract to be ASSUMED

        State the term remaining              0 months

        List the contract number of
        any government contract

        State what the contract or
                                              Executory contract for remainder             Nor-Cal Pump & Well Drilling inc
  2.2   lease is for and the nature
        of the debtor’s interest
                                              of installation of well on Baseline
                                                                                           1325 Barry Road
                                              leased property
                                                                                           Yuba City, CA 95993
                                              Contract to be ASSUMED

        State the term remaining              0 months

        List the contract number of
        any government contract

        State what the contract or
                                              Debtor leases from Sukhwant "The             Sukhwant Singh Gill
  2.3   lease is for and the nature
        of the debtor’s interest
                                              Jameson Ranch" in Fresno County
                                                                                           251 Shrike Circle
                                              and composed of 152 +/- farm
                                              land. Includes APN's, 041-070-32s,           Sacramento, CA 95834
                                              041-070-29s, 041-070-27s. Lease
                                              began June 2022 and will end
                                              December 2027.
                                              Contract to be ASSUMED

        State the term remaining              0 months

        List the contract number of
        any government contract




 Official Form 206G                                    Schedule G: Executory Contracts and Unexpired Leases                                                page 1 of 2
           State what the contract or
Filed 01/10/25                            Debtor leases from Sukhwant
                                                                 Case "The    Sukhwant Singh Gill
                                                                        25-10074                                                                      Doc 1
  2.4  lease is for and the nature
           of the debtor’s interest
                                          Natomas Ranch" in Sutter County
                                                                              251 Shrike Circle
                                          and composed of 158 +/- farm
                                          land. Includes APN's, 035-150-013.  Sacramento, CA 95834
  Debtor       Capital Farms, Inc         Lease began January 2022 and will                 Case number (if known)
               Name                       end January 2027.
                                       Contract
            Additional Page if Debtor Has       to be ASSUMED
                                          More Executory Contracts or Unexpired Leases

         Statethis
        Copy   the page
                   term only if more space0ismonths
                        remaining            needed. Continue numbering the lines sequentially from the previous page.

     List List the contract
          all contracts andnumber  of leases
                            unexpired                                                State the name and mailing address for all other parties with whom the
          any government contract                                                    debtor has an executory contract or unexpired lease

            State what the contract or
                                           Debtor leases from Sutter Land,            Sutter Land, LLC
  2.5       lease is for and the nature
            of the debtor’s interest
                                           LLC "The Sankey Ranch" in
                                                                                      130 Shrike Circle
                                           Sutter County and composed of
                                           238 +/- farm land. Includes APN            Sacramento, CA 95834
                                           035-170-074. Lease began
                                           January 2020 and will end
                                           January 2025.
                                           Contract to be ASSUMED

            State the term remaining       0 months

            List the contract number of
            any government contract

            State what the contract or
                                           Debtor leases from Sutter Land,            Sutter Land, LLC
  2.6       lease is for and the nature
            of the debtor’s interest
                                           LLC "The Brawley Ranch" in
                                                                                      130 Shrike Circle
                                           Fresno County and composed of
                                           277 +/- farm land. Includes APN’s          Sacramento, CA 95834
                                           041-231-36s, 041-231-37s,
                                           041-231-39s, 041-231-08s,
                                           041-370-07s, 041-370-08s,
                                           041-231-38s. Lease began
                                           November 2023 and will end
                                           December 31, 2024.
                                           Contract to be ASSUMED

            State the term remaining       0 months

            List the contract number of
            any government contract

            State what the contract or
                                           Debtor leases from Sutter Land,            Sutter Land, LLC
  2.7       lease is for and the nature
            of the debtor’s interest
                                           LLC land in Placer County known
                                                                                      130 Shrike Circle
                                           as "Baseline Ranch" and
                                           composed of 157 +/- farm land.             Sacramento, CA 95834
                                           Includes APN 017-130-051. Lease
                                           began July 2020 and will end
                                           December 27, 2026.
                                           Contract to be ASSUMED

            State the term remaining       0 months

            List the contract number of
            any government contract




  Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                        page 2 of 2
Filed 01/10/25                                                            Case 25-10074                                                                             Doc 1
     Fill in this information to identify the case:

      Debtor name          Capital Farms, Inc


      United States Bankruptcy Court for the:              Eastern             District of        California
                                                                                             (State)
      Case number (If known):                                                                                                            ❑ Check if this is an
                                                                                                                                              amended filing


     Official Form 206H

    Schedule H: Codebtors                                                                                                                                      12/15

    Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively.
    Attach the Additional Page to this page.


      1.    Does the debtor have any codebtors?
            ❑ No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
            ✔ Yes
            ❑
      2.    In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of creditors,
            Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule on which the
            creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

             Column 1: Codebtor                                                                                Column 2: Creditor

                                                                                                                                          Check all schedules
             Name                               Mailing address                                                Name
                                                                                                                                          that apply:

                                                                                                               Rabo AgriFinance           ✔D
                                                                                                                                          ❑
     2.1     Baljit Singh Gill                   130 Shrike Circle                                             LLC                        ❑ E/F
                                                Street                                                                                    ❑G
                                                                                                               Rabo AgriFinance           ✔D
                                                                                                                                          ❑
                                                                                                                                          ❑ E/F
                                                 Sacramento, CA 95834
                                                                                                                                          ❑G
                                                City                   State                  ZIP Code

                                                                                                               Wilbur-Ellis Company       ✔D
                                                                                                                                          ❑
     2.2     Gurmej Singh Gill                   1973 Hardial Dr                                               LLC                        ❑ E/F
                                                Street                                                                                    ❑G
                                                                                                               Tech Ag Financial          ✔D
                                                                                                                                          ❑
                                                                                                               Group, Inc                 ❑ E/F
                                                 Yuba City, CA 95993
                                                                                                                                          ❑G
                                                City                   State                  ZIP Code
                                                                                                               Nor-Cal Pump & Well        ❑D
                                                                                                               Drilling inc               ❑ E/F
                                                                                                                                          ✔G
                                                                                                                                          ❑
                                                                                                               Rabo AgriFinance           ✔D
                                                                                                                                          ❑
                                                                                                               LLC                        ❑ E/F
                                                                                                                                          ❑G
                                                                                                               Kubota Credit              ✔D
                                                                                                                                          ❑
                                                                                                               Corporation                ❑ E/F
                                                                                                                                          ❑G
                                                                                                               Farm Credit Services       ✔D
                                                                                                                                          ❑
                                                                                                               of America, PCA            ❑ E/F
                                                                                                                                          ❑G
                                                                                                               T.M. Duche Nut Co          ✔D
                                                                                                                                          ❑
                                                                                                                                          ❑ E/F
                                                                                                                                          ❑G


    Official Form 206H                                                  Schedule H: Codebtors                                                      page 1 of    4
Filed 01/10/25                                                      Case 25-10074                                                                          Doc 1
    Debtor       Capital Farms, Inc                                                           Case number (if known)
                Name


                     Additional Page if Debtor Has More Codebtors

                    Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

             Column 1: Codebtor                                                                     Column 2: Creditor

                                                                                                                                 Check all schedules
             Name                         Mailing address                                           Name
                                                                                                                                 that apply:

                                                                                                     Rabo AgriFinance            ✔D
                                                                                                                                 ❑
                                                                                                                                 ❑ E/F
                                                                                                                                 ❑G
                                                                                                     Wilbur-Ellis Company        ✔D
                                                                                                                                 ❑
     2.3     Singh Gill, Gurmej           1973 Hardial Dr                                            LLC                         ❑ E/F
                                          Street                                                                                 ❑G
                                                                                                     Tech Ag Financial           ✔D
                                                                                                                                 ❑
                                                                                                     Group, Inc                  ❑ E/F
                                          Yuba City, CA 95993
                                                                                                                                 ❑G
                                          City                   State             ZIP Code
                                                                                                     Nor-Cal Pump & Well         ❑D
                                                                                                     Drilling inc                ❑ E/F
                                                                                                                                 ✔G
                                                                                                                                 ❑
                                                                                                     Rabo AgriFinance            ✔D
                                                                                                                                 ❑
                                                                                                     LLC                         ❑ E/F
                                                                                                                                 ❑G
                                                                                                     Kubota Credit               ✔D
                                                                                                                                 ❑
                                                                                                     Corporation                 ❑ E/F
                                                                                                                                 ❑G
                                                                                                     Farm Credit Services        ✔D
                                                                                                                                 ❑
                                                                                                     of America, PCA             ❑ E/F
                                                                                                                                 ❑G
                                                                                                     T.M. Duche Nut Co           ✔D
                                                                                                                                 ❑
                                                                                                                                 ❑ E/F
                                                                                                                                 ❑G
                                                                                                     Rabo AgriFinance            ✔D
                                                                                                                                 ❑
                                                                                                                                 ❑ E/F
                                                                                                                                 ❑G
                                                                                                     Rabo AgriFinance            ✔D
                                                                                                                                 ❑
     2.4     Sukhwant                     251 Shrike Circle                                          LLC                         ❑ E/F
                                          Street                                                                                 ❑G
                                                                                                     T.M. Duche Nut Co           ✔D
                                                                                                                                 ❑
                                                                                                                                 ❑ E/F
                                          Sacramento, CA 95834
                                                                                                                                 ❑G
                                          City                   State             ZIP Code

                                                                                                     Rabo AgriFinance            ✔D
                                                                                                                                 ❑
                                                                                                                                 ❑ E/F
                                                                                                                                 ❑G
                                                                                                     Rabo AgriFinance            ✔D
                                                                                                                                 ❑
     2.5     Sukhwant Singh Gill          251 Shrike Circle                                          LLC                         ❑ E/F
                                          Street                                                                                 ❑G
                                                                                                     T.M. Duche Nut Co           ✔D
                                                                                                                                 ❑
                                                                                                                                 ❑ E/F
                                          Sacramento, CA 95834
                                                                                                                                 ❑G
                                          City                   State             ZIP Code



    Official Form 206H                                             Schedule H: Codebtors                                             page   2   of     4
Filed 01/10/25                                                      Case 25-10074                                                                          Doc 1
    Debtor       Capital Farms, Inc                                                           Case number (if known)
                Name


                     Additional Page if Debtor Has More Codebtors

                    Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

             Column 1: Codebtor                                                                     Column 2: Creditor

                                                                                                                                 Check all schedules
             Name                         Mailing address                                           Name
                                                                                                                                 that apply:

                                                                                                     Rabo AgriFinance            ✔D
                                                                                                                                 ❑
                                                                                                                                 ❑ E/F
                                                                                                                                 ❑G
                                                                                                     Rabo AgriFinance            ✔D
                                                                                                                                 ❑
     2.6     Sutter Enterprises, LLC      251 Shrike Circle                                          LLC                         ❑ E/F
                                          Street                                                                                 ❑G
                                                                                                     Rabo AgriFinance            ✔D
                                                                                                                                 ❑
                                                                                                                                 ❑ E/F
                                          Sacramento, CA 95834
                                                                                                                                 ❑G
                                          City                   State             ZIP Code

                                                                                                     Rabo AgriFinance            ✔D
                                                                                                                                 ❑
     2.7     Sutter Land, LLC             130 Shrike Circle                                          LLC                         ❑ E/F
                                          Street                                                                                 ❑G
                                                                                                     Rabo AgriFinance            ✔D
                                                                                                                                 ❑
                                                                                                                                 ❑ E/F
                                          Sacramento, CA 95834
                                                                                                                                 ❑G
                                          City                   State             ZIP Code

                                                                                                     Rabo AgriFinance            ✔D
                                                                                                                                 ❑
     2.8     United Farm, LLC             251 Shrike Circle                                          LLC                         ❑ E/F
                                          Street                                                                                 ❑G
                                                                                                     Rabo AgriFinance            ✔D
                                                                                                                                 ❑
                                                                                                                                 ❑ E/F
                                          Sacramento, CA 95834
                                                                                                                                 ❑G
                                          City                   State             ZIP Code

     2.9                                                                                                                         ❑D
                                          Street                                                                                 ❑ E/F
                                                                                                                                 ❑G

                                          City                   State             ZIP Code

     2.10                                                                                                                        ❑D
                                          Street                                                                                 ❑ E/F
                                                                                                                                 ❑G

                                          City                   State             ZIP Code

     2.11                                                                                                                        ❑D
                                          Street                                                                                 ❑ E/F
                                                                                                                                 ❑G

                                          City                   State             ZIP Code




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Filed 01/10/25                                                      Case 25-10074                                                                          Doc 1
    Debtor       Capital Farms, Inc                                                           Case number (if known)
                Name


                     Additional Page if Debtor Has More Codebtors

                    Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

             Column 1: Codebtor                                                                     Column 2: Creditor

                                                                                                                                 Check all schedules
             Name                         Mailing address                                           Name
                                                                                                                                 that apply:

     2.12                                                                                                                        ❑D
                                          Street                                                                                 ❑ E/F
                                                                                                                                 ❑G

                                          City                   State             ZIP Code

     2.13                                                                                                                        ❑D
                                          Street                                                                                 ❑ E/F
                                                                                                                                 ❑G

                                          City                   State             ZIP Code

     2.14                                                                                                                        ❑D
                                          Street                                                                                 ❑ E/F
                                                                                                                                 ❑G

                                          City                   State             ZIP Code

     2.15                                                                                                                        ❑D
                                          Street                                                                                 ❑ E/F
                                                                                                                                 ❑G

                                          City                   State             ZIP Code




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